                Case 20-62169-lrc                 Doc 43       Filed 05/19/20 Entered 05/19/20 15:09:38                             Desc Main
                                                               Document     Page 1 of 23
   Fill in this information to identify your case:


   Debtor 1          CYNTHIA ANDERSON-GRAYSON
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number          20-62169IRC
   (If known)                                                                                                              _         LI Check if this is an
                                                                                                                                        amended filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        LI Married
        El Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

        lir No
        LI   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                         Dates Debtor 1                                                          Dates Debtor 2
                                                                  lived there                                                             lived there


                                                                                      U Same as Debtor 1                                 0 Same as Debtor 1
                                                                  From                                                                       From
                 Number              Street                                              Number Street
                                                                  To                                                                         To




                 City                         State ZIP Code                             City                    State ZIP Code

                                                                                      0 Same as Debtor 1                                 0 Same as Debtor 1
                                                                  From                                                                       From
                 Number              Street                                              Number Street
                                                                  To                                                                         To




                 City                         State ZIP Code                              City                   State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        2r No
        LI   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

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Debtor 1       CYNTHIA ANDERSON-GRAYSON                                                                  Case number (11known) 20-62169IRC
                First Name      Middle Name            Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     El No
           Yes. Fill in the details.




                                                             Sources of income            Gross income             Sources of income          Gross income
                                                             Check all that apply.        (before deductions and   Check all that apply.      (before deductions and
                                                                                          exclusions)                                         exclusions)

            From January 1 of current year until              0 Wages, commissions,                                O Wages, commissions,
                                                                   bonuses, tips                                     bonuses, tips
            the date you filed for bankruptcy:
                                                              CI   Operating a business                            O Operating a business


            For last calendar year:                           CI   Wages, commissions,                             El Wages, commissions,
                                                                   bonuses, tips                                      bonuses, tips
            (January 1 to December 31,                    )U       Operating a business                            O Operating a business
                                              YYYY



            For the calendar year before that:                0 Wages, commissions,                                O Wages, commissions,
                                                                   bonuses, tips                                     bonuses, tips
            (January 1 to December 31                     ) 0 Operating a business                                 O Operating a business
                                              YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       'No
     0     Yes. Fill in the details.



                                                              Sources of income           Gross Income from         Sources of Income         Gross income from
                                                              Describe below,             each source               Describe below,           each source
                                                                                          (before deductions and                              (before deductions and
                                                                                          exclusions)                                         exclusions)



            From January 1 of current year until
            the date you filed for bankruptcy:




             For last calendar year:

             (January 1 to December 31,
                                              YYYY




             For the calendar year before that:

             (January 1 to December 31
                                              YYYY




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1      CYNTHIA ANDERSON-GRAYSON                                                             Case number (if known)   20-62169IRC
               First Name       Middle Name             Last Name




all           List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     CI    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               O No. Go to line 7.

               •    Yes. List below each creditor to whom you paid a total of $6,825" or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               " Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               10 No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid          Amount you still owe                 payment for...
                                                                       payment



                      Creditor's Name
                                                                                                                                          0 Mortgage
                                                                                                                                          0 Car
                      Number    Street                                                                                                    0 Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                      City                    State         ZIP Code                                                                      0 Other


                                                                                                                                          0 Mortgage
                      Creditor's Name
                                                                                                                                          0 Car
                      Number    Street                                                                                                    0 Credit card
                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                      City                    State         ZIP Code
                                                                                                                                          0 Other


                                                                                                                                          0 Mortgage
                      Creditor's Name
                                                                                                                                          CI Car
                      Number    Street                                                                                                       Credit card

                                                                                                                                          0 Loan repayment
                                                                                                                                          0 Suppliers or vendors
                      City
                                                                                                                                          U Other
                                              State         ZIP Code




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Debtor 1      CYNTHIA ANDERSON-GRAYSON                                                               Case number (If known) 20-62169IRC
                   First Name      Middle Name           Last Name




     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     Er No
           Yes. List all payments to an insider.
                                                                                      Total amount     Amount you still    Reason for this payment
                                                                                      paid             owe


            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name


            Number        Street




            City                                 State   ZIP Code



    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     Ei No
     Li Yes. List all payments that benefited an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid
                                                                                                                           Include creditor's name


            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name



            Number        Street




                                                 State   ZIP Code




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Debtor 1       CYNTHIA ANDERSON-GRAYSON                                                                   Case number (if known)    20-621691 RC
                First Name            Middle Name           Last Name




               Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     Er No
     0     Yes. Fill in the details.




            Case title                                                                             Court Name
                                                                                                                                                     1:1 Pending
                                                                                                                                                     O On appeal
                                                                                                   Number     Street                                 O Concluded

            Case number
                                                                                                   City                     State     ZIP Code




            Case title                                                                             Court Name
                                                                                                                                                     O Pending
                                                                                                                                                     O On appeal
                                                                                                   Number     Street                                 O Concluded

            Case number
                                                                                                   City                     State     ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

     Er No. Go to line 11.
     CI Yes. Fill in the information below.

                                                                                       property                                        Date        Value of the property



                 Creditor's Name



                 Number      Street                                        Explain what happened

                                                                           CI Property was repossessed.
                                                                           CI Property was foreclosed.
                                                                           O   Property was garnished.
                 City                               State   ZIP Code       O   Property was attached, seized, or levied.

                                                                           Describe the property                                       Date         Value of the propert)




                 Creditor's Name



                 Number      Street
                                                                           Explain what happened

                                                                               Property was repossessed.
                                                                               Property was foreclosed.
                                                                               Property was garnished.
                 City                               State   ZIP Code
                                                                               Property was attached, seized, or levied.



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Debtor 1          CYNTHIA ANDERSON-GRAYSON                                                               Case number (if known)20-62169IRC
                  First Name     Middle Name             Last Name




 11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?

     El No
     U     Yes. Fill in the details.

                                                                 Describe the action the creditor took                        Date action      Amount
                                                                                                                              was taken
           Creditor's Name



           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

     Ef No
     U     Yes


                  List Certain Gifts and Contributions


 13 Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     id No
     U     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                           Dates you gave      Value
            per person                                                                                                        the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                           Dates you gave     Value
           per person                                                                                                         the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1          CYNTHIA ANDERSON-GRAYSON                                                                       Case number (if known)20-62169IRC
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     O No
     O Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you
            that total more than $600                                                                                                     contributed




           Charity's Name




           Number      Street




           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     10 No
     O Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that Insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property




                  List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     El No
     O Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number       Street




            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment, if Not You



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Debtor 1       CYNTHIA ANDERSON-GRAYSON                                                                      Case number (if known)   20-62169IRC
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                  Date payment or
                                                                                                                                       transfer was made

            Person Who Was Paid



            Number       Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You


 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     10 No
     U     Yes. Fill in the details.

                                                                    Description and value of any property transferred                  Date payment or         of payment
                                                                                                                                       transfer was
                                                                                                                                       made
            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

 18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.
     Eir No
     ▪     Yes. Fill in the details.

                                                                    Description and Value of property        Describe any property or payments received    Date transfer
                                                                    transferred                              or debts paid in exchange                     was made

            Person Who Received Transfer



            Number       Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number       Street




            City                       State     ZIP Code

            Person's relationship to you

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Debtor 1        CYNTHIA ANDERSON-GRAYSON                                                                     Case number (if known)   20-621   69IRC
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

       •   No
       U Yes. Fill in the details.

                                                                   Description and value of the property transferred                                            Date transfer
                                                                                                                                                                was made


           Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
       Er No
       U Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or             Date account was       Last balance before
                                                                                                       instrument                     closed, sold, Moved,   closing or transfer
                                                                                                                                      or transferred

            Name of Financial Institution
                                                                       XXXX—                           U Checking

            Number       Street                                                                        U Savings

                                                                                                       U Money market

                                                                                                       U Brokerage
            City                       State    ZIP Code
                                                                                                       U Other



                                                                                                       U Checking
            Name of Financial Institution
                                                                                                       U Savings

            Number       Street                                                                        U Money market

                                                                                                       U Brokerage

                                                                                                           Other
            City                       State    ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?

   I
       if No
       LI Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                            Do you still
                                                                                                                                                                    have it?

                                                                                                                                                                    U No
            Name of Financial institution                         Name                                                                                              U Yes


            Number       Street                                   Number       Street


                                                                  City           State     ZIP Code
            City                       State    ZIP Code


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Debtor 1          CYNTHIA ANDERSON-GRAYSON                                                                              Case number (lrknown) 20-62169IRC
                   First Name      Middle Name               Last Name



22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
     U Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                   Do you still
                                                                                                                                                                     have it?

                                                                                                                                                                      U No
            Name of Storage Facility                                Name
                                                                                                                                                                        Yes

            Number       Street                                     Number    Street


                                                                    City State ZIP Code

            City,                       State     ZIP Code



 Part 9:             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     Eli No
     U Yes. Fill in the details.
                                                                    Where is the property?                                   Describe the property                Value


            Owner's Name


                                                                  Number     Street
            Number        Street




                                                                  City                             State     ZIP Code
            City                        State     ZIP Code


 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     El No
     U Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law,' if you know it              Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                   State   ZIP Code



           City                        State     ZIP Code




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Debtor 1      CYNTHIA ANDERSON-GRAYSON                                                                                 Case number (if known)20-62169IRC
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Er No
     U Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice



            Name of site                                          Governmental unit


            Number        Street                                  Number     Street



                                                                  City                  State    ZIP Code


            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     El No
     U Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         , case

           Case title
                                                                                                                                                                          U    Pending
                                                                    Court Name
                                                                                                                                                                          U    On appeal
                                                                    Number     Street                                                                                          Concluded


           Case number                                              City                        State   ZIP Code



=111                 Give Details About Your Business or Connections to Any Business
,
I 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     El No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                 Employer Identification number
                                                                                                                                        Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                        EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed


                                                                                                                                        From               To
            Ctty                        State    ZIP Code

                                                                    Describe the nature of the business                                 Employer Identification number
                                                                                                                                        Do not include Social Security number or ITIN.
            Business Name



            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed


                                                                                                                                    I From                  To
            City                        State    ZIP Code
                                                                                                                                    1
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Debtor 1     CYNTHIA ANDERSON-GRAYSON                                                                        Case number ufknow0 20-62169IRC
                  First Name      Middle Name              Last Name




                                                                   Describe the nature of the business                   Employer Identification number
                                                                                                                         Do not include Social Security number or ITIN.
           Business Name

                                                                                                                          EIN:
           Number        Street
                                                                   Name of accountant or bookkeeper                      Dates business existed



                                                                                                                          From              To
           City                        State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     10 No
     0 Yes. Fill in the details below.
                                                                   Date issued



           Name                                                    MM / DD / YYYY



           Number        Street




           City                        State    ZIP Code




 Part 12:         Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   tdi                                                           x
           Signature of D                                                            Signature of Debtor 2


           Date   i1/ Iii W7't                                                       Date
      Did you atta h additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      El No
      •     Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      El. No
      O Yes. Name of person                                                                                      . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1          CYNTHIA ANDERSON-GRAYSON
                    First Name              Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         20621691RC                                                                                                        U Check if this is an
  (If known)
                                                                                                                                           amended filing



Official Form 1060
Schedule C: The Property You Claim as Exempt                                                                                                         04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      LI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the      Amount of the exemption you claim       Sp cific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from       Check only one box for each exemption
                                                          Schedule NB

      Brief
      description:                                                                  U s 0.00
      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


      Brief
      description:                                                                     $
      Line from                                                                        100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit

      Brief
      description:                                                                     $
      Line from                                                                     LI 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
   . (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     Er No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          Ig      No
                  Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                          page 1 of 1
                Case 20-62169-lrc                    Doc 43          Filed 05/19/20 Entered 05/19/20 15:09:38                       Desc Main
                                                                    Document      Page 14 of 23
 Fill in this information to identify your case:

 Debtor 1          CYNTHIA ANDERSON-GRAYSON
                                               Middle Name                   Last Name
 Debtor 2
 (Spouse, if filing) First Name                Middle Name                   Last Name

 United States Bankruptcy Court for the: Southern District of Georgia

 Case number         20-62169-IRC
 (If known)                                                                                                                           El Check if this is an
                                                                                                                                          amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                          12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       Er No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       0 Yes. Fill in all of the information below.
111=            List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim' list the creditor separately
       for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
       As much as possible, list the claims in alphabetical order according to the creditor's name.

 2.1
                                                         Describe the property that secures the claim:
       Creditor's Name

       Number            Street
                                                        As of the date you file, the claim is: Check all that apply.
                                                         O    Contingent
                                                         •    Unliquidated
       City                       State   ZIP Code       O    Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   O Debtor 1 only                                       CI   An agreement you made (such as mortgage or secured
   O Debtor 2 only                                            car loan)
   O Debtor 1 and Debtor 2 only                          CI   Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another             O    Judgment lien from a lawsuit
                                                         CI   Other (including a right to offset)
   O Check if this claim relates to a
      community debt
   Date debt was incurred                                Last 4 digits of account number
 2.2
                                                         Describe the property that secures the claim:
       Creditor's Name

       Number            Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         O Contingent
                                                         O Unliquidated
       City                       State   ZIP Code       O Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   O Debtor 1 only                                       O An agreement you made (such as mortgage or secured
   O Debtor 2 only                                         car loan)
   O Debtor 1 and Debtor 2 only                          O Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another             O    Judgment lien from a lawsuit
                                                         O Other (including a right to offset)
   O Check if this claim relates to a
      community debt
   Date debt was incurred                                Last 4 digits of account number
        Add the dollar value of your entries in Column A on this page. Write that number here.
                          ,

 Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                 page 1 of 1
                   Case 20-62169-lrc                Doc 43         Filed 05/19/20 Entered 05/19/20 15:09:38                           Desc Main
  Fill in this information to identify your case:                 Document      Page 15 of 23

  Debtor 1             CYNTHIA ANDERSON-GRAYSON
                        Fast Name                 Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name               Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

                        20-62169-IRC                                                                                                    1:1 Check if this is an
  Case number
      (If known)
                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:              List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.
        U Yes.
 2. List all of your priority Unsecured claims- If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3,
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)



2.1
                                                                   Last 4 digits of account number
          Priority Creditor's Name

                                                                   When was the debt incurred?
          Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   LI Contingent
          City                            State    ZIP Code
                                                                   LI   Unliquidated
          Who incurred the debt? Check one.                        LI Disputed
          O Debtor 1 only
          LI Debtor 2 only                                         Type of PRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                             O Domestic support obligations
          LI At least one of the debtors and another
                                                                   O Taxes and certain other debts you owe the government
          Li Check if this claim is for a community debt           O Claims for death or personal injury while you were
          Is the claim subject to offset?                            intoxicated
          •      No                                                LI Other. Specify
                 Yes
2.2
                                                                   Last 4 digits of account number                                $
          Priority Creditor's Name
                                                                   When was the debt incurred?
          Number           Street
                                                                   As of the date you file, the claim is: Check all that apply,
                                                                   O    Contingent
          City                            State    ZIP Code        •    Unliquidated

          Who incurred the debt? Check one.                        O Disputed
          LI Debtor 1 only
                                                                   Type of PRIORITY unsecured claim:
          LI Debtor 2 only
                                                                   Ci Domestic support obligations
          LI Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
          LI At least one of the debtors and another
                                                                   O Claims for death or personal injury while you were
           U Check if this claim is for a community debt             intoxicated
          Is the claim subject to offset?                          LI Other. Specify
           •     No
           O Yes


 Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 1 of 6
 Debtor 1      Case
               CYNTHIA   20-62169-lrc    Doc 43 Filed 05/19/20 Entered
                            ANDERSON-GRAYSON                              05/19/20 15:09:38 Desc Main
                                                                       Case number (if known) 20-62169—IRC
                First Name   Middle Name   Last Name Document Page 16 of 23
 Part 1:         Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this Page, number them beginning with 2.3, folloWed by 2.4, and so forth.



                                                                Last 4 digits of account number
      Priority Creditor's Name

                                                                When was the debt incurred?
      Number          Street
                                                                As of the date you file, the claim is: Check all that apply.

                                                                CI   Contingent
      City                                State   ZIP Code      U    Unliquidated
                                                                O    Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                           Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                CI Domestic support obligations
      CI     Debtor 1 and Debtor 2 only
                                                                O    Taxes and certain other debts you owe the government
      O At least one of the debtors and another
                                                                O    Claims for death or personal injury while you were
                                                                     intoxicated
      O Check if this claim is for a community debt
                                                                O Other. Specify
      Is the claim subject to offset?
      O No
      O Yes

24
                                                                Last 4 digits of account number
      Priority Creditor's Name

                                                                When was the debt incurred?
      Number          Street
                                                                As of the date you file, the claim is: Check all that apply.

                                                                O    Contingent
      City                                State   ZIP Code      U    Unliquidated
                                                                O Disputed
      Who incurred the debt? Check one.
      LI Debtor 1 only                                          Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                0    Domestic support obligations
      0 Debtor 1 and Debtor 2 only                              0    Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                 O Claims for death or personal injury while you were
      O Check if this claim is for a community debt               intoxicated
                                                                O Other. Specify

      Is the claim subject to offset?
      U No
      O Yes


                                                                Last 4 digits of account number
      Priority Creditors Name

                                                                When was the debt incurred?
      Number          Street
                                                                As of the date you file, the claim is: Check all that apply.

                                                                O Contingent
      City                                State   ZIP Code      U    Unliquidated
                                                                O    Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                           Type of PRIORITY unsecured claim:
      CI Debtor 2 only
                                                                0    Domestic support obligations
      0 Debtor 1 and Debtor 2 only                              0    Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                 O Claims for death or personal injury while you were
      U Check if this claim is for a community debt               intoxicated
                                                                O Other. Specify

      Is the claim subject to offset?
      U No
      O Yes


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                     Paqg   Of 6
 Debtor 1
                Case
                 CYNTHIA   20-62169-lrc     Doc 43 Filed 05/19/20 Entered
                              ANDERSON-GRAYSON                               05/19/20
                                                                          Case                15:09:38 Desc Main
                                                                               number it known) 20-62169-IRC
                  First Name    Middle Name   Last Name Document Page 17 of 23
 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      a Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each Claim listed, identify what type of claim It is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.



       EMORY MEDICAL CARE FOUNDATION                                           Last 4 digits of account number          6    8    2     0
       Nonpriority Creditor's Name
                                                                                                                                                              13,525.00
                                                                               When was the debt incurred?            10/26/2019
       101 WEST PONCE DE LEON AVENUE
       Number           Street

       DECATUR                                      GA         30030
       City                                         State     ZIP Code         As of the date you file, the claim is: Check all that apply.

                                                                               LI    Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       lid    Debtor 1 only                                                    1:1   Disputed
       0      Debtor 2 only
       LI Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
       LI At least one of the debtors and another                              U Student loans

       Li Check if this claim is for a community debt                          O Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
       Is the claim subject to offset?                                         LI    Debts to pension or profit-sharing plans, and other similar debts
       LI     No                                                               ▪     Other. Specify   MEDICAL
       LI Yes

4.2    US BANK TURST NATIONAL ASSOCIATION                                      Last 4 digits of account number          2 3 9 3                          $   189,000.00
       Nonpriority Creditor's Name                                             When was the debt incurred?             09/19/2019
       425 WALNUT STREET
       Number           Street
       CINCINNATI                                   OH         45202           As of the date you file, the claim is: Check all that apply.
       City                                         State     ZIP Code
                                                                               U Contingent
       Who incurred the debt? Check one.                                       ▪     Unliquidated
                                                                               U Disputed
       ▪      Debtor 1 only
       O Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
       LI Debtor 1 and Debtor 2 only
       O At least one of the debtors and another                               U Student loans
                                                                               U     Obligations arising out of a separation agreement or divorce
       O Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                         U Debts to pension or profit-sharing plans, and other similar debts

       I] No                                                                   WI    Other. Specify   lien
       El Yes

4.3
       UNITED STATES BANKRUPTCY COURT N.                                       Last 4 digits of account number          7 6 8 6                                   319.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?             11/04/2019
       75 TED TURNER DR SW
       Number           Street
       ATLANTA                                      GA
                                                                               As of the date you file, the claim is: Check all that apply.
       City                                         State     ZIP Code

                                                                               LI Contingent
       Who incurred the debt? Check one.
                                                                               •     Unliquidated
       ▪      Debtor 1 only
                                                                               O Disputed
       O Debtor 2 only
       LI Debtor 1 and Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
       LI At least one of the debtors and another
                                                                               U Student loans
       0      Check if this claim is for a community debt                      O Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
       Is the claim subject to offset?
                                                                               O Debts to pension or profit-sharing plans, and other similar debts
       LI No
                                                                               •     Other. Specify   COURT FILING CH 13
       CI     Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     oacie3   of6
 Debtor 1      Case
                CYNTHIA   20-62169-lrc     Doc 43 Filed 05/19/20 Entered
                             ANDERSON-GRAYSON                               05/19/20
                                                                         Case number vi known)15:09:38    Desc Main
                                                                                               20-62169-IRC
                 First Name    Middle Name   Last Name Document Page 18 of 23
 Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this Page, number them beginning with 4.4, followed by 4.5, and so forth.




      GRADY HEALTH SYSTEM                                                              Last 4 digits of account number         3    6     3    1                 $ 33,564.00
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?            11/18/2019
      PO BOX 934958
      Number           Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      ATLANTA                                          GA             31193
      City                                             State         ZIP Code          0     Contingent
                                                                                       •     Unliquidated
      Who incurred the debt? Check one.                                                •     Disputed
      la Debtor 1 only
      •      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only
                                                                                       U Student loans
      ▪      At least one of the debtors and another
                                                                                       U     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      ▪      Check if this claim is for a community debt
                                                                                       U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  U Other. Specify       MEDICAL
      IJ No
      id Yes



      MOREHOUSE HEALTHCARE SCHOOL OF MED.                                              Last 4 digits of account number         7     6    5    5                      60.00
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?            12/13/2019
      HARRIS BLDG #100 720 W. VIEW DR.
      Number           Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      ATLANTA                                          GA             30310
      City                                             State         ZIP Code          lir Contingent
                                                                                       •     Unliquidated
      Who incurred the debt? Check one.                                                U Disputed
      la Debtor 1 only
      U Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                       O     Student loans
      0      At least one of the debtors and another
                                                                                       U     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                       1:1   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Er    Other. Specify   MEDICAL
      O No
      0      Yes


                                                                                                                                                                 $ 15,166.00
      U.S. DEPARTMENT OF EDUCATION (797577)                                            Last 4 digits of account number          6    5    2     0
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?            06/17/2011
      2401 INTERNATIONAL LANE
      Number           Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      MADISON                                          WI             53704
      City                                             State         ZIP Code          O Contingent
                                                                                       ▪     Unliquidated
    ' Who incurred the debt? Check one.                                                U Disputed
      ▪      Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only
                                                                                       O Student loans
      O At least one of the debtors and another
                                                                                       O     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                       O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  U Other. Specify
      LI No
      0      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                 Paoe4   of 6
 Debtor 1        Case
                  CYNTHIA   20-62169-lrc     Doc 43 Filed 05/19/20 Entered
                               ANDERSON-GRAYSON                               05/19/20
                                                                           Case number 15:09:38    Desc Main
                                                                                        20-62169-IRC                                                                                        (if known)
                   First Name    Middle Name   Last Name Document Page 19 of 23
                   List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

        BSI FINANCIAL SERVICES                                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        314 S. FRANKLIN St./ 2ND FLOOR                                                                                        Line     4.2    of (Check one): U Part 1: Creditors with Priority Unsecured Claims
        Number           Street
                                                                                                                                                                               0       Part 2: Creditors with Nonpriority Unsecured Claims
        PO BOX 517
                                                                                                                              Last 4 digits of account number 2                                            3    9        3
        TITUSVILLE                                                         PA                   16354
        City                                                               State                      ZIP Code
     ../....11a/H/MOKK            M55004%11/....114441111.16 / MAW, IM.11111111.74.1110VIRIAPP....5%/11 /I/   d110VAV/1/11.0.0.611VM.M.WW/   /I//M10.0.1991111111110.'11//*MW,W,           /Ad f (AW///,           ary/.55           d d MI ,/////2 MA. 0/OWN,/   ////*



                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                                                               Line           of (Check one): U Part 1: Creditors with Priority Unsecured Claims
        Number           Street
                                                                                                                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims

                                                                                                                               Last 4 digits of account number —                                      —        —        —
        City                                                               State                      ZIP Code


                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                                                               Line           of (Check one): 0                         Part 1: Creditors with Priority Unsecured Claims
        Number           Street
                                                                                                                                                                                U Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims

                                                                                                                               Last 4 digits of account number                                        _
                                                                           State                     RP Code
                                                                                                                                                                                                                                   eMOWINANW/44114.01,/,///, /N.%/



                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                                                               Line           of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number            Street
                                                                                                                                                                                •       Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims

                                                                                                                               Last 4 digits of account number
        City                                                               State                      ZIP Code
                                                                           41.1.00.111V/11,A1.11111111111111111.101M*OMMIVI*                        MON, , /,161010100..V.M11110.14.101MOVIMM(411441//..010M//,/,*(6114.101//1*/                                           a/M///1.491,144   ,/11..



                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                                                               Line           of (Check one): Li Part 1: Creditors with Priority Unsecured Claims
       Number            Street
                                                                                                                                                                                U Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims

                                                                                                                               Last 4 digits of account number
       City                                                                State                      ZIP Code


                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                                                               Line            of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number            Street
                                                                                                                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims

                                                                                                                               Last 4 digits of account number
       City                                                                State                      ZIP Code                                                                             —         —         —        —

                                                                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name


                                                                                                                               Line           of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number            Street
                                                                                                                                                                                U Part 2: Creditors with Nonpriority Unsecured
                                                                                                                               Claims


       City                                                                State                      ZIP Code
                                                                                                                               Last 4 digits of account number —                                     —         —       —




Official Form 106E/F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                 page5         of6
.
Debtor 1
           Case




Total claims
from Part 1
            CYNTHIA   20-62169-lrc
             First Name   Middle Name
                                      Doc 43 Filed 05/19/20 Entered
                         ANDERSON-GRAYSON
                                        Last Name Document
           Add the Amounts for Each Type of Unsecured Claim
                                                                       05/19/20 15:09:38
                                                                    Case number
                                                           Page 20 of 23
                                                                                            Desc Main
                                                                                 20-62169-IRC        (if known)




6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




               6a. Domestic support obligations

               6b.Taxes and certain other debts you owe the
                  government
                                                                              6a.


                                                                              6b.
                                                                                                            0.00

                                                                                                            0.00

               6c. Claims for death or personal injury while you were
                   intoxicated                                                6c.                           0.00
               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                    6d. +                         0.00


               6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                            0.00




               6f. Student loans                                              6f.                  15,166.00
Total claims
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                                     6g.      $                    0.00
               6h. Debts to pension or profit-sharing plans, and other
                   similar debts                                              6h.                           0.00

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                    6i.   -1- $        436,468.00


               6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                 451,634.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                 paqe6   of 6
                Case 20-62169-lrc               Doc 43          Filed 05/19/20 Entered 05/19/20 15:09:38                              Desc Main
                                                               Document      Page 21 of 23
 Fill in this information to identify your case:

 Debtor               CYNTHIA ANDERSON-GRAYSON
                      First Name             Middle Name                Last Name

 Debtor 2
 (Spouse If filing)   First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number          20-62196-LRC
  (If known)                                                                                                                             U Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be As complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        1=1 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.


                        ,
        Person •or. company
                      , ,   with
                             , ,whom
                                 ,   you have the contract or lease                             State what the contract or lease is for


2.1
        Name

        Number           Street

        City                            State      ZIP Code



       4 Name

        Number           Street

                                        State      ZIP Code_
2.
        Name

        Number           Street

                                        State      ZIP Code

2.4
        Name

        Number           Street

                                        State      ZIP Code
r2.5
        Name

        Number           Street

        City                            State      ZIP Code


Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                Case 20-62169-lrc                      Doc 43               Filed 05/19/20 Entered 05/19/20 15:09:38                          Desc Main
                                                                           Document      Page 22 of 23
 Fill in this information to identify your case:

 Debtor 1          CYNTHIA ANDERSON-GRAYSON
                    First Name                      Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         20-62169-LRC
  (If known)
                                                                                                                                                  CI Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
     10 No
      O Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     TE ' No. Go to line 3.
     O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           0 No
           lj Yes. In which community state or territory did you live?                                  . Fill in the name and current address of that person.



                 Name of your spouse, former spouse, or legal equivalent



                 Number             Street



                 City                                          State                        ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule ELF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule ELF, or Schedule G to fill out Column 2.

                                                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:


                                                                                                                O Schedule D, line
         Name
                                                                                                                 0   Schedule E/F, line
         Number            Street
                                                                                                                 O Schedule G, line

                                                                   State                     ZIP Code



                                                                                                                O Schedule D, line
         Name
                                                                                                                O Schedule E/F, line
         Number           Street
                                                                                                                 O Schedule G, line

         City_                                                     State                     ZIP Code



                                                                                                                O Schedule D, line
         Name
                                                                                                                O Schedule E/F, line
         Number           Street
                                                                                                                 O Schedule G, line

         City                                                      State                     ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                page 1 of
               Case 20-62169-lrc              Doc 43         Filed 05/19/20 Entered 05/19/20 15:09:38                                    Desc Main
                                                            Document      Page 23 of 23
 Fill in this information to identify your case:


 Debtor 1           CYNTHIA NDERSON-GRAYSON
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         20-62169-LRC                                                                       Check if this is:
  (If known)
                                                                                                        0 An amended filing
                                                                                                        1:1 A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
Official Form 1061                                                                                            MM / DD/ YYYY

Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                   Describe Employment


1. Fill in your employment                                                             ,
   information.                                                               Debtor                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 CI Employed                                  0    Employed
    employers.                                                             10 Not employed                              CI   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name


                                         Employer's address
                                                                          Number Street                               Number    Street




                                                                          City             State   ZIP Code           City                  State ZIP Code

                                        How long employed there?


                  Give Details About Monthly Income

   Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
   spouse unless you are separated.
   If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor         For Debtor 2 Or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.            2.

 3. Estimate and list monthly overtime pay.                                                3. +$                     +$


 4. Calculate gross income. Add line 2 + line 3.                                           4.      $    0.10


Official Form 1061                                                Schedule k Your Income                                                         page 1
